        Case 9:21-cr-00029-DLC Document 76 Filed 01/11/22 Page 1 of 3



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                            CR 21–29–M–DLC

              Plaintiff,

       vs.                                                  ORDER

 MICHAEL BLAKE DEFRANCE,

              Defendant.


      Before the Court is Defendant Michael Blake DeFrance’s Unopposed

Motion to Withdraw Request to File Oversized Reply Brief. (Doc. 75.) The

motion states that Mr. DeFrance reduced his reply brief to fit within the standard

word count, and permission to file an oversized brief is not required. (Id. at 1–2.)

The motion will be denied as moot because the Court has already reviewed the

proposed reply brief (Doc. 73-1) and intended to grant the Unopposed Motion to

File Oversized Reply Brief (Doc. 73).

      The briefing on Mr. DeFrance’s Motion to Dismiss the Second Superseding

Indictment raises several issues that the Court concludes would be prudent to

address before issuing a ruling on the motion. Both iterations of Mr. DeFrance’s

reply brief (Docs. 73-1, 74) raise a number of new arguments in support of his

motion. In the interest of fairness, the Court will grant the United States leave to

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        Case 9:21-cr-00029-DLC Document 76 Filed 01/11/22 Page 2 of 3



file an optional sur-reply brief, subject to a word limit of 4,452 words, on or before

January 18, 2022.

      Furthermore, Mr. DeFrance argues in his reply brief that, had the documents

at issue (Doc. 63) been disclosed before the close of briefing concerning his

affirmative defenses, “those papers would have been woven into” that briefing.

(Doc. 73-1 at 5–6; Doc. 74 at 5–6.) Again in the interest of fairness, the Court will

permit optional supplemental briefing on the United States’ motion in limine

concerning Mr. DeFrance’s defenses (Doc. 36). Mr. DeFrance may submit an

optional supplemental brief responding to the motion on or before January 25,

2022, and the United States may submit an optional supplemental reply brief on or

before February 1, 2022.

      Once the briefing schedule is complete, the Court will hold a hearing on all

remaining pending motions in this case.

      Accordingly, IT IS ORDERED that the Unopposed Motion to File

Oversized Reply Brief (Doc. 73) is GRANTED.

      IT IS FURTHER ORDERED that the Unopposed Motion to Withdraw

Request to File Oversized Reply Brief (Doc. 75) is DENIED as moot.

      IT IS FURTHER ORDERED that the United States may file an optional sur-

reply brief in response to Mr. DeFrance’s Reply Brief in Support of Opposed

Motion to Dismiss Superseding Indictment (Docs. 73-1, 74), subject to a word

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        Case 9:21-cr-00029-DLC Document 76 Filed 01/11/22 Page 3 of 3



limit of 4,452 words, on or before January 18, 2022.

      IT IS FURTHER ORDERED that Mr. DeFrance may file an optional

supplemental brief in response to the United States’ Motion in Limine to Preclude

Defenses (Doc. 36) on or before January 25, 2022, and the United States may file

an optional supplemental reply brief on or before February 1, 2022.

      IT IS FURTHER ORDERED that the Court shall hold a hearing on all

pending motions in this case (Docs. 34, 36, 69) on February 23, 2022 at 1:30 p.m.

in the Russell Smith Federal Courthouse in Missoula, Montana.

      IT IS FURTHER ORDERED that this Court’s order excluding all time from

September 15, 2021 to the disposition of all pretrial motions from any Speedy Trial

Act calculations in the above-captioned matter pursuant to 18 U.S.C.

§ 3161(h)(1)(D) (Docs. 64, 71) remains in full force and effect.

      DATED this 11th day of January, 2022.




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